UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

In re:

Jason Ray Giselbach Case No. 19-04350-RLM-13

Debtor(s)

OBJECTION TO AMENDED TRUSTEE'S MOTION TO DISMISS
Comes now the Debtor, Jason Ray Giselbach, by counsel, and objects to the

Trustee's Motion to Dismiss and in support whereof shows the Court as follows:

1. Debtor has now submitted a copy of his 2020 federal income tax return to the
Chapter 13 Trustee.

2. Debtor is in the process of turning over the required portion of his 2020
federal income tax refund to the Chapter 13 Trustee.

3. Debtor desires to enter into an Agreed Entry to cure any remaining arrears in
Trustee payments over the remaining plan life

4. Counsel for the Debtor is obligated to preserve Debtor’s right by setting this
matter for a hearing.

WHEREFORE, the Debtor, by counsel, objects to the Trustee's Motion to

Dismiss, and requests that the Trustee’s Motion to Dismiss be denied.

Respectfully Submitted,

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Is! Jess M. Smith, Ill

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CERTIFICATE OF SERVICE

| hereby certify that on 6/7/21, a copy of the foregoing was filed electronically. Notice of
this filing will be sent to the following parties through the Court’s Electronic Case Filing
System. Parties may access this filing through the Court's system:

Ann M. DeLaney ECFdelaney@trustee13.com, ecfdelaney@gmail.com

U.S. Trustee ustpredion10.in.ecf@usdoij.gov

| hereby certify that on 6/7/21, a copy of the foregoing was mailed by first-class U.S.
Mail, postage prepaid, and properly addressed to the following:

Jason Ray Giselbach, 9886 Commonwealth Dr., Fishers, IN 46038

Opn tot

/s/ Jess M. Smith, Ill

Jess M. Smith, Ill (21468-30)
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